Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 1 of 7 PageID 1
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 2 of 7 PageID 2
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 3 of 7 PageID 3
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 4 of 7 PageID 4
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 5 of 7 PageID 5
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 6 of 7 PageID 6
Case 4:21-cv-01253-P Document 1 Filed 11/12/21   Page 7 of 7 PageID 7
